Case 2:17-cv-03813-ODW-E Document 15 Filed 09/25/17 Page 1 of 2 Page ID #:36

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 ALLISON BROWN                                                      2:17−cv−03813−ODW−E
                                                  Plaintiff(s),

          v.
 SIMONS AGENCY, INC.
                                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your electronically filed document:

 Date Filed:         9/22/2017
 Document Number(s):                 14
 Title of Document(s):              Voluntary Dismissal of a Case (Pursuant to FRCP 41a (1)) WITH
 prejudice
 ERROR(S) WITH DOCUMENT:

 Case is closed.

 Proposed Document was not submitted as separate attachment.




 Other:

 case previously dismissed July 31, 2017 Without prejudice. A proposed order should have been submitted
 Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
 document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
 notice unless and until the Court directs you to do so.


                                                       Clerk, U.S. District Court

 Dated: September 25, 2017                             By: /s/ Linda Chai Linda_Chai@cacd.uscourts.gov
                                                          Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge



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CasePlease
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           refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




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